    Case 2:14-cv-07951-JLL Document 2 Filed 01/13/15 Page 1 of 3 PageID: 37



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

OLUKAYODE DAVID OJO,

                        Petitioner,            :        Civil No. 14-795 1 (JLL)

                v.                             :        ORDER
ERIC HOLDER, et al.,

                        Respondents.


         THIS MATTER having come before the Court upon motion of Petitioner, Olukay
                                                                                    ode
David Ojo, requesting appointment of pro bono counsel, (ECF No. 1); and
                                                                        Petitioner, who is
proceeding pro Se, having brought a Petition for Writ of Habeas Corpus pursua
                                                                              nt to 28 U.S.C.     §
2241; and

         IT APPEARING THAT:

         1. There is no “automatic” constitutional right to counsel in a federal habeas
                                                                                        corpus
proceeding. Coleman v. Thompson, 501 U.S. 722, 752, 111 S.Ct. 2546, 115 L.Ed.2
                                                                               d 640 (1991);
Reese v. Fulcomer, 946 F.2d 247, 263 (3d Cir. 1991), superseded on other ground
                                                                                s by statute, 28
U.S.C.   § 2254.; see also Smith v. Angelone, 111 F.3d 1126, 1133 (4th Cir. 1997); Williams v.
Tuipin, 87 F.3d 1204, 1210(11th Cir. 1996).

         2. A court may appoint counsel for any financially eligible person seekin
                                                                                   g relief under
the federal habeas statutes “{w]henever the United States magistrate judge
                                                                           or the court determines
that the interests of justice so require.” 18 U.S.C.
                                                       § 3006A(a)(2)(B). In addition, the court may
use its discretion to appoint counsel to any indigent civil litigant procee
                                                                            ding in forma pauperis.
    Case 2:14-cv-07951-JLL Document 2 Filed 01/13/15 Page 2 of 3 PageID: 38



See 28 U.S.C.   § 191 5(e)( 1).’ The factors examined by the court in an application presented under
either statute remain largely the same. Compare Reese, 946 F.2d at 263 (relyin
                                                                               g on § 3006A(g));
Hoggard v. Purkett, 29 F.3d 469, 471 (8th Cir. 1994) (same) with Parham
                                                                        v. Johnson, 126 F.3d
454, 457 (3d Cir. 1997)(articulating the standard under
                                                           § 1915)(citing Tabron v. Grace, 6 F.3d
 147, 157 (3d Cir. 1993)); Dellenbach v. Han/cs, 76 F.3d 820, 823 (7th Cir.1996)
                                                                                 (same).
        3.   Initially, the district court must first decide if the petitioner has presented
                                                                                             a non-
frivolous claim. See Reese, 946 F.2d at 263-64; accordAbdullah v. Norris,
                                                                          18 F.3d 571, 573 (8th
Cir. 1994); see also Parham, 126 F.3d at 456-57. If the court determines
                                                                         that a claim is not
frivolous, the court next must determine whether the appointment of counse
                                                                           l will benefit both the
petitioner and the court.    See Reese, 946 F.2d at 264; Parham, 126 F.3d at 457.            Factors
influencing a court’s decision include the complexity of the factual and legal
                                                                               issues in the case, as
well as the pro se petitioner’s ability to investigate facts and present claims
                                                                                .      See Battle   i

Armontrout, 902 F.2d 701, 702 (8th Cir. 1990); accord McCall v. Benson, 114
                                                                            F.3d 754, 756 (8th
Cir. 1997); see also Parham, 126 F.3d at 457-58. Courts have held, for examp
                                                                             le, that there was
no abuse of a district court’s discretion in failing to appoint counsel when no
                                                                                evidentiary hearing
was required and the issues in the case had been narrowed, see Terrovona
                                                                         v. Kincheloe, 912 F.2d
1176, 1177 (9th Cir. 1990), or the issues were “straightforward and capabl
                                                                           e of resolution on the
record,” Ferguson v. Jones, 905 F.2d 211, 214 (8th Cir. 1990), or the
                                                                      petitioner had “a good
understanding of the issues and the ability to present forcefully and cohere
                                                                             ntly his contentions,”
La Mere v. Risley, 827 F.2d 622, 626 (9th Cir. 1987).




  Petitioner has not applied for informa pauperis status in this proceeding.
   Case 2:14-cv-07951-JLL Document 2 Filed 01/13/15 Page 3 of 3 PageID: 39



        4. Here, there is no indication that Petitioner does not fully comprehend the
                                                                                      issues he
presents in his   § 2241 Petition. The Petition demonstrates Petitioner’s ability to present his claims
coherently and the Court finds that the issues raised by Petitioner are neither factual
                                                                                        ly nor legally
complex. The claims are straightforward: Petitioner challenges his mandatory
                                                                             detention pending
removal. The issues are capable of resolution on the administrative record
                                                                           to be provided by
respondents, which eliminates the need for discovery by Petitioner.

        5. Therefore, because Petitioner has not established sufficient facts that would
                                                                                         compel the
appointment of counsel in the interests ofjustice, the Court chooses not to exercis
                                                                                    e its discretionary
power to assign pro bono counsel at this time.

       For the foregoing reasons,

       IT IS on thisjday of                              ,2015,

       ORDERED that Petitioner’s request for appointment of counsel is DENIE
                                                                             D WITHOUT
PREJUDICE.



                                                                  yjz
                                                                ce L. Linares, U.S.D.J.
